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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE



   UNITED STATES OF AMERICA                                                            PLAINTIFF

   VS.                                               CRIMINAL ACTION NO.3:07CR-10-03-R

   WILLIE COLLINS                                                                   DEFENDANT



                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

                This matter has been referred to the undersigned Magistrate Judge Dave Whalin

         by the District Court for the purpose of conducting proceedings pursuant to

         Fed.R.Crim.P. 11. The Defendant,, by consent and with Laura wyrosdick, Assistant

         Federal Defender , appointed Counsel, appeared in open court on May 25, 2007, and

         entered a plea of guilty as to Counts 1 & 4 of the superseding indictment pursuant to a

         Rule 11(c)(1)&(B) plea agreement. The United States was represented by Bryan

         Calhoun, Assistant United States Attorney. After cautioning and examining the

         Defendant under oath concerning each of the subjects mentioned in Rule 11, The Court

         determined that the guilty plea was knowledgeable and voluntary as to Counts 1 & 4 of

         the superseding indictment, and that the offenses charged is supported by an independent

         basis in fact concerning each of the essential elements of such offenses. Therefore, the

         undersigned recommend’s that the plea of guilty be accepted, and that the Defendant be

         adjudged guilty and have sentence imposed accordingly.
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          IT IS HEREBY ORDERED that a date for sentencing as to this defendant will be

   established by further order of the Court. IT IS FURTHER ORDERED that the defendant

   shall be released on his present bond.

          The defendant shall have ten (10) days to file any objections to this recommendation

   pursuant to Fed.R.Crim.P. 72(b), or waive the opportunity to do so.



   May 29, 2007




   Copies to:                                                      May 29, 2007
   United States Attorney
   Counsel for Defendant
   United States Marshal
   United States Probation




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